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                     EXHIBIT A
                     Case 5:17-cv-04849-LHK Document 1-1 Filed 08/21/17 Page 2 of 8




                                          SUMMONS                                                                       ~COMTUMOMy
                                                                                                                      MM' PMA US' Me IA CORM
                                  (Clra Cl/0nrV
                                              uDlICIAc)
NOTICE TO DEFENDANT;
(AV1S0 AL DEM4NDAD091:
CAPITAL ONE, NATlONAL ASSOCIATION AND EQUIFAX                                                                 2017 ,jUL 18 p(i 3; 10
INFORMATION SERVICES. LLC
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YOl7 ARE BEING SUED BY PLAINTIFF:                                                                               ~;i:'` ::i ir :" ~'~ i C~~A
(LO ESTi4 DEAL4NDANDO EL DEAIANDANTE,)):                                                                                              i,! aRA
 MILANKUNWAR

  NOTtCeI You have been sued. The aourt may decide ageUrst you wlthout your being heard unless you respond wlthin 30 days. Read the intomation
  below.
     You have 30 CALEIVDAR DAYS after thla summons and tegal pepers are sarved on you to fNe a wrttten reaponse at this oourt and have a oopy
 servad on the plalntlff. q letter or phona call wlll not protect you. Your wrltten respormo m ust be In pmper Iegat to m► If you weM the aourt to hear your
  caset. Tnere may be a eourt torm thet you can use tor your reaponse. You Can ftnd tltese oourt forms and more lnformation at the Cs4forNa Courts
  Ontine Self-Hetp Center (www.00urtinfo.ca gov/sellqa(o), your county lew libntry, or the oourthouse nearest you. B you cannot pay ttu t1Ang fee, ask
 the cwurt clerk for a fee waNer forrn. If you do not fie your responee on time, you may lose the cose by default, and your weges, money, and property
  may be taken wWoout further waming From 1he courL
     There are othar legal requtremants. You may want to call an attomey right awsy. M you do not know an allorney, you ntay want to cap an attomey
  roferrel senAca. lf you cannot allord an attomoy, you may be eligibte for free leaai aervloes from a rwnprofit legal seMoes program. You can k+cete
 these nonproflt groups at fhe CaWlomie Legal Servksts Web afte (wwwJbxfielpcaNlomla.oqg), the Calliomia Courta Onllne SetF-lielp Center
  (www.00urtMf*.ca.govlselfielp), or by contacUng your kkal oourt or oourAy bar assoclation. NOTE: The court has a statulory lisn tor welved fees and
  costs on any settlement or arbltrelfon award of $10,000 or more in a cNU tasse. The wurCs ien must be pald before the oourt wiU dismias the case.
 IAVISOf Lo hen demandada. Sl no responde dent►o do 30 dfas, la oafe puede decid'ir en su conba sln escuchar au rera/dn. Lea la lnllomaaof6n a
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    Tlene 30 D(AS DE CALENDARfO desptn;a de que te enLeguen esta dfacibn y papelea legalas pare presenter una nmpuesta por escdfo an esta
 corte y hacer que sa enhague una capla al demandante. Una carta o una Namada te/efbnica no !o protegan. Su respueste por escdto Q'ene que estar
 an flormato tega/ oo»ecLn si desee que proceaen su saso en la corte. Ea poai6le qua haya un formulado que usied pveda usar para su respuesta.
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 (www.tawhelpcallfomla.org), en a! Cen6o da Ayude de fas CorDes de Ca/Abmle, tWm.aucorte.ca.gov) o ponlBndose an contecto con !a corta o ef
 c,obgJo de abogados locales. A VISO: Aor 1ey, la cone tlene derecho a raclamarlaa cuotas y/os costos exentos porimponer un gmvamen sobre
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The name and address of 1he Court is:                                                                    I CASE NuuaEFL,
(El nombre y direcdbn de /acorte es): Downtown                Superior Court                             OW"d° d°' °s'°~t°y!~
                                                                                                                     ~ I 6i
191 Nortb First Street San Jose, CA 95113
The name, address, and telephone nurnber of pleMfPs attorney, or pleintHf wfthout an attomey, is:
(FJ nombne, !a allreod6n y el nGmeio de teldfono det abogado del demandante, o del demandante que no tiene abogado, es):
 McCarthy Law PLC, 4250 N. Drinkwater Blvd, Ste 320, Scottsdale, AZ 85251, 602-456-8900

DATE:                                  'JUL 1 S2011                   Clark. by                                                                  . DeP~y
(r-echa)                                                              (Secretarto)         S. Alya~rez                                            (AdycmWo)
(For proof of senrlce of (his surn►rtons, use Proof ol3ervice of Sumrnons form POS-Of 0).)
(Para prueba de entrega de este dtat0n use el fomwlerio Proof of SeMce of Summons, (POS-010)).
                                    NOTICE TO THE PERSON SERVED: You are served
                                   1.        as an Individual defendant.
                                   2. Q aa the person sued under the flctltious name of (spec#y):

                                                                           EQUIFAX INFORMATION SERVICES, LLC
                                     3. © on behaM of (speciiy):
                                          under         CCP 416.10 (corporatWn)                 CCP 416,80 (m(not)
                                                 [~ CCP 41620 (defunot oorporation)       [] CCP 416.70 (oonservatee)
                                                 ~ CCP 416.40 (assodatlon or partnerahtp) [] CCP 416.90 (authorized person)
                                                 ® oth~ fspe~y): 17 7 01. 16
                                     4•         by personal delirery on (date): ~.~ Z
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                              Ashley Tnchtean, 258719
                        2
                              Garrett Charity, 285447
                              4250 Nortb Drinkwater Blvd, Suite 320
                        3     Scottsd4le, AZ 85251
                              602r456.8900
                        4     ~s kY.tnahmanjkmccarthvlawyer.com
                              garrett.~ rthylawyer.com
                        S     Attorneys [or Plainrift
                        6
                                                             IN THE SUPERIOR COiTRT OF CALIFORNIA
                        7                                           CoUNTY OF SANTA CLARA
                        8'                                                                     t 'a C ~~ ~s 1c,%~ ~ ~
                                MILAN KUNWAIt,                                I Case No..
                        9
                                        Plaintii~                               COMPLAINT FOR VIOI.ATION OF
                      10        V.                                              FAIR CREDIT REPORTING ACT (15
                                                                                U.S.C. § 1681 et seq. and CA Civ. § 1785 et
                      11        CAPITAL ONE, NATIONAL                           seq.)
                                ASSOCIATION and EQUIFAX
                      12        INFORMATION SERVICES, LLC,                      Demand: Ezc.eeds $10,000 But Does Not
                      13                                                        eaceed $25,000
                                        Defendants.
                      14                                                        Limited Case
                      15'
                                     TO CAPITAL ONE, NATIONAL ASSOCIATION and EQUIFAX INFORMATION
                      16
                              SERVICES, LLC:
                      17
                                      COMES NOW MII.AN KUNWAR ("PlaintifP), by and through counsel, for causes of
                      18
                              action against Defendants, CAPITAL ONE, NATIQNAL ASSOCIATION and EQUIFAX
                      19
                              INFOR,MATION SERVICES, LLC, and alleges the following on information and belief:
                      20
                                                                      1. INTRODUCTION
                      21
                              1.       This action arises out of Defendants' violations of the Fair Credit Reporting Act ("FCRA")
                      22
                              and the California Consumer Credit Reporting Agencies Act ("CCRA.A").
                      23
                              2.       The Plaintiff is a consumer and victim of inaccurate reporting by Defendants, and has ;
                      24
                              suffered particularized and concrete harm.
                      25
                              3.       That Plaintiff received a Form 1099-C, "Cancellation of Debt," discharging the debt owed
                      26
                              for Plaintiff s account.
                      27
                              4.       That Plai,ntiff obtained his consumer credit reports and discovered that the account
                      28
McCAnna;Aw. PLC
5U re~~~A~ etv0 Kunwar v. Capital One et al                                    1                                    COMPIAINT
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                            Case 5:17-cv-04849-LHK Document 1-1 Filed 08/21/17 Page 4 of 8


   ,




                       1    associated with the Fonm 1099-C, "Cancellation of Debt," was being reported incorrectly.
                       2    Accordingly, Plaintiff filed written dispute letters, with supporting documentation, through the

                       3    responsible consumer reporting agencies.

                      4     5.      That Defendants willfully failed to correct the error contained within Plaintiff s consumer

                       5    credit reports and willfully failed to conduct a re-investigation upon receipt of the written dispute.

                       6    6.      That Defendants failed to maintain reasonable procedures to asswe maximum accuracy of

                      oi the information contained within Plaintiifs consumer credit reports.
                       :~                                            II. PARTIES

                      al 7.        Plaintiff is a resident of Santa Clara, California.

                     10 I 8.       Defendant, CAPITAL ONE, NATIONAL ASSOCIATION ("Capital One"), has
                            designated the following address for service: CSC - LAWYERS INCORPORATING SERVICE,

                     12     2710 GATEWAY OAKS DR SUITE 150N, SACRAMENTO, CALIFORNIA 95833.

                     13     9.     Defendant, EQUIFAX INFORMATION SERVICES, LLC a.k.a. Equifax, INC.

                     14     ("Equifax"), is a credit reporting agency licensed to do business in California as a foreign

                     15     corporation, and has an address of: CSC — LAWYERS INCORPORATING SERVICE, 2710

                     16     GATEWAY OAKS DRIVE, SUITE 150N, SACRAMENTO, CALIFORNIA 95833.

                     17
                                                             III. JURISDICTION AND VENUE
                     18
                            10.    The Court has jurisdiction over this action pursuant to 15 U.S.C. § 1681p of the FCRA and
                     19
                            CA Civ. § 1785.33 of the CCRAA.
                     20
                            11.    Personal jurisdiction exists over Defendants as Plaintiff resides in California, Defendants
                     21
                            have the necessary minimum contacts with the state of California, and this suit arises out of specific
                     22
                            conduct with Plaintiff in California.
                     23
                            12.    Venue is proper as the Plaintiffresides in and the injury occurred in Santa Clara, California
                     24
                            and Defendants do business in California.
                     25
                                                               IV. FACTUAL ALLEGATIONS
                     26
                            13.     That on or around December 31, 2015, Capital One issued a Form 1099-C, "Cancellation
                     27
                            of Debt," for Plaintiff's Capital One account ending in 5203-1572 ("Account").
                     28
MCCARTwvUAw,PLC
4250 N. DRINIIWATER 8L~D
SUITE 320
                            Kunwar v. Capital One et al                       Z                                      COMPLAINT
SCOTTSDALE, AR120NA 85251
                             Case 5:17-cv-04849-LHK Document 1-1 Filed 08/21/17 Page 5 of 8




                        1    14.    The Form 1099-C cancelled the principal balance owed, excluding interest and fees.

                        2    15.    That, the 1099-C is labeled as a"Cancellation of Debt", thus canceled and discharged the

                        3    principal balance owed, excluding interest and fees.

                        4    16.    Subsequently, Defendant Capital One submitted a Form 1099-C, "Cancellation of Debt,"

                        5    to the Internal Revenue Service ("IRS") for the cancellation of the debt amount owed to Defendant

            ,           6    Capital One.

                        7    17.     Due to the issuance of the Form 1099-C, Plaintiff was obligated to pay income taxes to the

                        8    IRS on the cancelled debts.

                        9    18.     It would be inequitable to the Plaintiff, who had to pay income taxes on the cancelled

                       10    debts, to allow Defendant Capital One, who reported to the IRS that the indebtedness was

                       11 , cancelled, to also be allowed to collect the cancelled debts from Plaintiff, thereby creating a

                       12    situation wherein the Plaintiffpays more than what was owed.

                       13    19.    That Defendant Capital One still reported a balance on the Account, inclusive of interest

                       14    and fees, on Plaintiffs consumer credit reports.

                       15    20.    That, sometime in or around July 26, 2016, Piaintiff obtained his consumer credit report

                       16    from Equifax and discovered that Defendant Capital One was inaccurately reporting the Account.

                       17    21.    That, on or about January 6, 2017, Plaintiff sent a written dispute regarding the accuracy of

                       18    the derogatory and erroneous balance information reported by the Defendant Capital One

                       19    pertaining to the Account, directly to Defendant Equifax.

                       20    22.    Upon information and belief, Defendant EquifaX forwarded at least a portion of Plaintiff's

                       21    written dispute to Defendant Capital One.

                       22    23.    That, on or about January 25, 2017, Defendants responded to Plaintiffs written dispute for

                       23    the Account without removing the derogatory and erroneous balance information that was

                       24    identified in Plaintiff's dispute letter for the Account.

                       25    24.     That, Defendant Capital One willfully failed to conduct a proper investigation and correct

                       26    the inaccurate reporting of the Account to the consumer reporting agencies, and to the detriment of

                       27    the consumer Plaintiff.

                       28    25.     That, Defendant Capital One is willfully reporting derogatory and inaccurate information
MCCArrrur LAw, PLC
4270 N. DRINKWATtiIi BI.VU   Kunwar v. Capital One et al                        3                                   COMPLAINT
SurrE 320
SC07T56ALE, ARIZONA 135251
                             Case 5:17-cv-04849-LHK Document 1-1 Filed 08/21/17 Page 6 of 8




                      1      about Plaintiff to the consumer reporting agencies, Equifax.

                      2      26.     That Defendant Equifax failed to conduct a reasonable reinvestigation on the Account to

                      3      the detriment of the consumer Plaintiff.

                      4                                 V. FIRST CALJSE OF ACTION
                                                VIOLATIONS OF TIIE FAIR CREDIT REPORTING ACT
                      5                                       15 U.S.C. § 1681 et seq.
                      6      27.     Plaintiff incorporates by reference all the above paragrapbs of this Complaint as though
                      7      fully stated herein.
                      8      28.     That, Defendant Equifax is a credit reporting agency, as defined by 15 U.S.C. § 1681a(f).
                      9      29.     That, Plaintiff sent a written dispute to Defendant Equifax concerning the accuracy of the
                     10      information contained within his consumer credit report regarding the derogatory and erroneous
                     11      balance information being reported on the Account, on January 6, 2017.
                     12      30.     That, Defendants responded to Plaintiff's written dispute for the Account on January 25, +
                     13      2017, and failed to correct or remove the erroneous balance information that was identified in ~
                     14      Plaintiff's dispute letter for the Account.
                     15      31.     That Defendant Capital One willfully failed to conduct a proper investigation and correct
                     16      the inaccurate reporting of the Account to the consumer reporting agencies in violation of 15 U.S.C.
                     17      § 1681 S-2(b) and to the detriment of the consumer Plaintiff.
                     18      32.     That Defendant Capital One is willfully reporting derogatory and inaccurate information
                     19      about Plaintiff to one or more consumer credit reporting agency, as defined by 15 U.S.C. § 1681a,
                     20      by continuing to report a balance on the Account.
                     21      33.     That Defendant Equifax willfully failed to conduct a reasonable reinvestigation in violation
                     22      of 15 U.S.C. § 1681i(a)(1xA) to the detriment of the consumer Plaintiff.
                     23      34.     That Defendant Equifax willfully failed to maintain and/or follow reasonable procedures to
                     24 I assure maximum accuracy of the information it reported to one or rnore third parties pertaining to

                     25      the Account, in violation of 15 U.S.C. § 1681e.
                     26      35.     That the foregoing a.cts and omissions of Defendants Capital One and Equifax constitute
                     27      unacceptable violations of the FCRA.
                     28                                  VI.     SECOND CAUSE OF ACTION
Mc:CARINr U.w, PLC
4250 N. L1H~NnWATER BLVU     Kunwar v. Capital One et al                       4                                    COMPLAINT
Su1TE 320
SCOTfSDALE, ARI20NA 852~ 1
                          Case 5:17-cv-04849-LHK Document 1-1 Filed 08/21/17 Page 7 of 8




                                                   VIOLATIONS OF THE CALIFORNIA
                   1                          CONSUMER CREOIT REPORTING AGENCIES ACT
                                                               CA Civ. § 1785.1 et seq.
                   2

                   3      36.     Plaintiff incorporates by reference all of the above paragraphs of this Complaint as though

                   4      fully stated herein.

                   5      37.     That, Defendant Equifax, is a credit reporting agency, as defined by CA Civ § 1785.3(d).

                   6      38.     That, on or about January 6, 2017, and in accordance with CA Civ § 1785.16(a), Plaintiff

                   7      sent a written dispute directly to Defendant Equifax regarding the Account and the accuracy of the

                    8     erroneous balance information contained on his consumer credit report, as defined by CA Civ §

                   9      1785.3(c).

                  10      39.     That, Defendants responded to Plaintiff's written dispute for the Account on January 25,

                  11      2017, and faiied to conect or remove the erroneous balance information that was identified in I

                  12      Plaintiff's dispute letter for the Account.

                  13      40.     That, Defendant Capital One is willfully reporting derogatory and inaccurate information

                  14      about Plaintiff to one or more consumer credit reporting agency, as defined by CA Civ. § 1785.3(d),

                  15      by continuing to report a balance on the Account, in violation of CA Civ. § 1785.25(0.

                  16      41.     That, Defendant Equifax is willfully reporting derogatory and inaccurate information about

                  17      Plaintiff to third-parties.

                  18      42.     That, Defendant Equifax failed to conduct a reasonable investigation to correct the '

                  19      inaccurate and misleading reporting of the disputed Account in violation of CA Civ. § 1785.16,

                  20      and to the detriment of the consumer Plaintiff.

                  21 43.          That, Defendant Equifax willfully failed to maintain reasonable procedures to assure

                  22 I maximum accuracy of the information contained in Plaintiff's credit reports in violation of CA Civ.
                  23      § 1785.14.

                  24      44.     The foregoing acts and omissions of Defendants Capital One and Equifax constitute

                  25      unacceptable violations of the CCRAA.

                  26
                                                          VII. PRAYER FOR RELIEF
                  27
                                  WHEREFORE, Plaintiff seeks a reasonable and fair judgment against Defendants for
                   28
McGARTHr LAw. PLC
4250 N. DRINKWATER BLVD   Kunwar v. Capital One et al                       5                                   COMPLAINT
SuiTE 320
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                              Case 5:17-cv-04849-LHK Document 1-1 Filed 08/21/17 Page 8 of 8




                        1     willful noncompliance of the Fair Credit Reporting Act and Consumer Credit Reporting Agencies ,

                        2     Act, and seeks her statutory remedies, as defined by 15 U.S.C. § 1681n and CA Civ. § 1785.31,

                        3     and demands the following:

                        4                                               AS TO COUNT I:
                        5            1. Actual damages to be shown at trial, or statutory damages of not less than $100

                        6                   and not more than $1,000 per violation pursuant to 15 U.S.C. § 1681 n(a)(l )(A);

                        7            2. Punitive damages, pursuant 15 U.S.C. § 1681n(a)(2), for Defendant's willful

                        8                   violation;

                        9            3. The costs of instituting this action together with reasonable attomey's fees

                       10                   incurred by Plaintiffpursuant to 15 U.S.C. § 1681n(a)(3); and

                       11            4. Any further legal and equitable relief as the court may deem just and proper in

                       12                   the circumstances.

                       13                                               AS TO COUNT II:

                       14            1. Actual damages, pursuant to CA Civ § 1785.31(a)(1) and CA Civ §

                       15                   1785.31(a)(2), including court costs, loss of wages, attorney's fees, and pain

                       16                   and suffering;

                       17            2. Punitive damages, pursuant to CA Civ § 1785.31(a)(2)(B) and CA Civ §

                       18                   1785.31(a)(2)(C), of not less than $100 and not more than $5,000 for each

                       19                   violation as the court deems proper, and any other relief that the court deems

                       20                   proper for Defendant's willful violation;

                       21

                       22           Respectfully subrnitted this 1 l th day of July, 2017.

                       23                                                        MCCAR Y LAMi4go—,
                       24 '
                                                                                 By:           AL

                       25                                                        Ashley Tuchman, Esq.
                                                                                 Garrett Charity, Esq.
                       26                                                        Attomeys for Plaintifff
                       27

                       28
MaCA9THY LAW,    ?LC
6250 N. DRINKW
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                              Kunwar   v.   Capital   One et al                   6                                    COMPLAiNT
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